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 1
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 5

 6    ATTORNEY FOR Defendant,
      SARITH CHIM
 7

 8
                                       UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10                                                 ******
11    UNITED STATES OF AMERICA,                            Case No.: 1:13-CR-00136-001-AWI

12                      Plaintiff,
                                                           STIPULATION AND ORDER TO MODIFY
13             v.                                          CONDITIONS OF RELEASE

14
      SARITH CHIM,
15
                        Defendant.
16

17    TO:      THE HONORABLE MAGISTRATE JUDGE BARBARA A. MCAULIFFE, AND
               TO UNITED STATES ATTORNEY BENJAMIN WAGNER AND HIS
18             REPRESENTATIVE, ASSISTANT UNITED STATES ATTORNEY GRANT
               RABENN:
19

20             On April 22, 2013, Defendant, Sarith Chim made his initial appearance before this

21    Court on an indictment filed in the Eastern District of California charging him with conspiracy

22    to manufacture, distribute, and possess with intent to distribute a controlled substance,

23    structuring conspiracy, and structuring. Mr. Chim was released on a Property Bond in

24    September 2013 and in the custody of a third party, Ms. Sarong Chao, under conditions set by

25    this Court.

26             Mr. Chim has admitted to the use of methamphetamine. It is requested that Mr. Chim

27    participate in outpatient treatment and increased testing.

28             United States Pretrial Services Officer Dan Stark has advised defense counsel that he

                                                        1
                         STIPULATION AND [PROPOSED] ORDER TO MODIFY CONDITIONS OF RELEASE
     Case 1:13-cr-00136-DAD-BAM Document 323 Filed 10/06/14 Page 2 of 2
 1    does not object to a modification of Mr. Chim’s conditions of release.

 2           Accordingly, the parties agree and stipulate that Mr. Chim’s conditions of release

 3    should be modified as follows: Defendant shall participate in a program of medical or

 4    psychiatric treatment, including treatment for drug or alcohol dependency, as approved by the

 5    pretrial services officer. Defendant shall pay all or part of the costs of the counseling services

 6    based upon your ability to pay, as determined by the pretrial services officer. All prior ordered

 7    conditions of release remain in full force and effect.

 8           IT IS SO STIPULATED.

 9                                                             Respectfully submitted,

10    DATED:         October 3, 2014                   By: /s/Grant Rabenn
                                                           GRANT RABENN
11                                                         Assistant United States Attorney
12

13

14    DATED:         October 3, 2014                   By: /s/Anthony P. Capozzi
                                                           ANTHONY P. CAPOZZI
15                                                         Attorney for Defendant SARITH CHIM
16

17

18                                                ORDER
19           For reasons set forth above, the Defendant’s conditions of pretrial release shall be
20    modified as follows: Defendant shall participate in a program of medical or psychiatric
21    treatment, including treatment for drug or alcohol dependency, as approved by the
22    pretrial services officer. Defendant shall pay all or part of the costs of the counseling
23    services based upon your ability to pay, as determined by the pretrial services officer.
24    All prior ordered conditions of release remain in full force and effect.
25    IT IS SO ORDERED.

26
         Dated:     October 6, 2014                              /s/ Barbara A. McAuliffe              _
27                                                       UNITED STATES MAGISTRATE JUDGE

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